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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA


             -against-                                       ORDER

                                                         18 Cr. 601 (PGG)
 GODOFREDO LEANDRO GONZALEZ,

                          Defendant.



PAUL G. GARDEPHE, U.S.D.J.:

              It is hereby ORDERED that the sentencing of Defendant Gonzalez, previously

scheduled for October 23, 2020, will now take place on December 16, 2020 at 2:00 p.m. in

Courtroom 705 of the Thurgood Marshall United States Courthouse, 40 Foley Square, New

York, New York.

Dated: New York, New York
       October 15, 2020
